Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 1 of 37 PageID 32

  AF Approval£_                                                Chief Approval�



                                UNITED STATES DlSTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


  UNITED STATES OF AMERICA

            V.                                        CASE NO. 8:21-cr-28-T-36JSS

  KELLY WOLFE


                                            PLEA AGREEMENT

            Pursuant to Fed. R. Crim. P. l l(c), the United States of America, by Maria

 Chapa Lopez, United States Attorney for the Middle District of Florida, and the

  defendant, Kelly Wolfe, and the attorney for the defendant, Ed Suarez, Esq.,

 mutually agree as follows:

  A.        Particularized Terms

            1.       Counts Pleading To

                     The defendant shall enter a plea of guilty to Count One of the

  Information. Count One charges the defendant with conspiracy to commit health

  care fraud, in violation of 18 U.S.C. � 1349. The defendant shall also enter a plea

  of guilty to Count Two of the Information. Count Two charges the defendant

  with making a false return, in violation of 26 U.S.C. � 7206(1).




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  Defendant s Initial
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Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 2 of 37 PageID 33
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 3 of 37 PageID 34
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 4 of 37 PageID 35
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 5 of 37 PageID 36
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 6 of 37 PageID 37
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 7 of 37 PageID 38
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 8 of 37 PageID 39
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 9 of 37 PageID 40
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 10 of 37 PageID 41
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 11 of 37 PageID 42
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 12 of 37 PageID 43
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 13 of 37 PageID 44
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 14 of 37 PageID 45
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 15 of 37 PageID 46
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 16 of 37 PageID 47
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 17 of 37 PageID 48
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 18 of 37 PageID 49
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 19 of 37 PageID 50
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 20 of 37 PageID 51
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 21 of 37 PageID 52
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 22 of 37 PageID 53
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 23 of 37 PageID 54
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 24 of 37 PageID 55
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 25 of 37 PageID 56
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 26 of 37 PageID 57
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 27 of 37 PageID 58
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 28 of 37 PageID 59
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 29 of 37 PageID 60
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 30 of 37 PageID 61
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 31 of 37 PageID 62
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 32 of 37 PageID 63
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 33 of 37 PageID 64
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 34 of 37 PageID 65
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 35 of 37 PageID 66
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 36 of 37 PageID 67
Case 8:21-cr-00028-VMC-JSS Document 5 Filed 01/27/21 Page 37 of 37 PageID 68




       13.    Certification

              The defendant and defendant's counsel certify that this plea

 agreement has been read in its entirety by (or has been read to) the defendant and

 that defendant fully understands its terms.

       DATED this     \t th day of December 2020.
                                               MARIA CHAP A LOPEZ
                                               United States Attorney



$~
 Defendant
                                               Kristen A. Fiore
                                               Assistant United States Attorney


 - ~~··-~-·--1
 Ed Suarez, Esq.
                  ---~JWH~ .              ~    Jay G. Trezevant
                                                                                      ,-.5-1)
 Attorney for Defendant                    f   ~ssistant United States Attorney
                                               Chief, Economic Crimes Section




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